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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division

FRANCES J. BELISLE,

                    Plaintiff,

v.                                                         Civil Action No. 3:18CV514-MHL

LAURA BAXTER, et al.,

                    Defendants,

                                                  ORDER

          The above-captioned case is set for an Initial Pretrial Conference on JUNE 21, 2019 at

1:30 p.m.. Upon examination of the file and consideration of the Court’s docket, and it

appearing that this action would be sooner resolved if the parties consent to referral of the case in

its entirety to a Magistrate Judge as the presiding judicial officer (of course, preserving the right

to trial by jury if such has been demanded), it is hereby ORDERED that counsel shall confer

with their respective clients and with each other to determine whether all parties will consent to

assignment of the case to a Magistrate Judge as the presiding judicial officer. See 28 U.S.C.

§ 636.1

          To that end, counsel for the defendant shall ensure that the foregoing conferences occur

not later than MAY 28, 2019, and that the Court is informed not later than 5:00 p.m. on



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              28 U.S.C. § 636 states, in pertinent part:

          Upon the consent of the parties, a full-time United States magistrate judge or a
          part-time United States magistrate judge who serves as a full-time judicial officer
          may conduct any or all proceedings in a jury or nonjury civil matter and order the
          entry of judgment in the case, when specially designated to exercise such
          jurisdiction by the district court or courts he [or she] serves..

28 U.S.C. § 636(c)(1).
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MAY 28, 2019, whether such consents (by all parties) have been given. Counsel for each party

shall file, not later than 5:00 p.m. on MAY 28, 2019, a Statement Regarding Consent clearly

articulating whether or not the party will consent to Magistrate Judge jurisdiction.

       The Clerk is directed to send a copy of this Order to all counsel of record.

       It is SO ORDERED.

                                                                                   /s/
                                                                         M. Hannah Lauck
                                                                     United States District Judge

Date: MAY 15, 2019
Richmond, Virginia




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